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Hn the United States Court of Federal C

 

 

 

United States Postal Service, Domestic

Defendant. Mail Manual §§ 508.4.2.1, 609.4.3(g).

No. 11-97C
Filed: August 12, 2011
TO BE PUBLISHED
THE ee he is oe ae ee ee ie ok ae a oo a aA a ae ae os oe ae ak ak ae
*
LAWRENCE TERRY, * Federal Tort Claims Act, 28 U.S.C. §§
* 2671-80;
Plaintiff, pro se, * Motion To Dismiss, RCFC 12(b)(1), (6);
* Pro Se;
* RESTATEMENT (SECOND) OF CONTRACTS
v. * § 353 (1981);
* Postal Service Regulations, 39 C.F.R. §§
* 111.1, 211.2(a)(2);
THE UNITED STATES, * Tucker Act, 28 U.S.C, § 1491;
*
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Lawrence Terry, Plaintiff, pro Se.

Elizabeth Anne Speck, United States Department of Justice, Civil Division, Washington, D.C.,
Counsel for Defendant.

MEMORANDUM OPINION AND FINAL ORDER
BRADEN, Judge.
L RELEVANT FACTS,!

On November 17, 2009, Lawrence Terry (“Plaintiff”) prepaid for six months’ use of a
post office box (the “PO Box”) located in the Columbia, South Carolina Post Office (“Columbia
P.O.”). Compl. 4 1. On January 14, 2010, Plaintiff filed a Complaint at the United States
District Court for the District of South Carolina (“District Court”), alleging that Allen Univerity
was negligent in sending his transcripts to other universities. Sze Terry v. Allen Univ., No. 3:10-
90 (D.S.C. filed Jan. 14 , 2010). Plaintiff used the PO Box as his mailing address for this action.
Compl. 7 1.

 

' The relevant facts were derived from the February 14, 201] Complaint (“Compl.”), the
Exhibits to the Government’s April 15, 2011 Motion To Dismiss (“Gov't Ex. Al-A41”), and the
Exhibits to Plaintiffs April 20, 2011 Motion for Summary Judgment (“PI. Ex. A-D”).

 
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In February 2010, Plaintiff attempted to mail six letters to Bermuda using the PO Box as
the return address. Jd. On February 17, 2010, three of the six letters intended for Bermuda were
returned to the PO Box for insufficient postage. Jd. On March 5, 2010, documents sent by the
District Court to the PO Box regarding Allen University were returned to the court as
“undeliverable.” Id.

On March 23, 2010, Plaintiff called the District Court regarding the status of Allen
University. Id. The District Court informed Plaintiff that he missed the deadline to respond to a
motion, and attempts to contact him by mail were returned as “undeliverable to that address,” Id
On that same date, Plaintiff went to the Columbia P.O. to inquire as to why he was not receiving
mail. /d Employees at the Columbia P.O. told Plaintiff that he needed to speak to Hank, the
employee in charge of opening and closing PO boxes, but Hank was not present. Jd.

On March 24, 2010, Plaintiff returned to the Columbia P.O. to speak to Hank and the
Columbia P.O. manager. Jd. During that visit, Hank stated that he never labeled the PO Box,
and told Plaintiff that he “do[es] it when [he] get[s] time to.” Compl. § 1; see also Pl. Ex. C,D
(Plaintiff's audio recording of his March 24, 2010 conversations at the Columbia P.O.). Plaintiff
declined a refund for the cost of the PO Box offered by the Columbia P.O. manager because a
refund “could never cover the stress [Plaintiff] went through.” Compl. 1; Pl. Ex. D. Plaintiff
alleges that the only mail he received at the PO Box was the three returned letters intended for
Bermuda. Compl. € 1.

On March 25, 2010, Plaintiff filed an administrative tort claim with the United States
Postal Service (“USPS”) pursuant to the Federal Tort Claims Act, 28 U.S.C, §§ 2671-80, for
mislabeling the PO Box and causing him to miss a court deadline in A//en University. See Gov't
Ex, Al-A6,

On April 12, 2010, the District Court dismissed Plaintiff s January 14, 2010 Complaint in
Allen University for lack of subject matter jurisdiction. See ferry y. Allen Univ., No. 3:10-90,
slip op. at 2 (D.S.C. Apr. 12, 2010).

On August 5, 2010, the USPS denied Plaintiffs administrative tort claim. See Gov’t Ex.
AI-A6,

On August I 1, 2010, Plaintiff filed a Complaint against the USPS in the District Court,
alleging a claim of negligence for the USPS’s failure to properly label the PO Box. See 7; erry V.

Postal Service, No. 3:10-2095, Slip op. at 2-4 (D.S.C. Nov. 22, 2010). On January 6, 2011,
Plaintiff appealed the dismissal of the August 11, 2010 Complaint to the United States Court of
Appeals for the Fourth Circuit.

On January 7, 2011, Plaintiff filed another Complaint against the USPS in the District

Court, based on the same facts as the August 11, 2010 Complaint. See 7, erry V. United States,
No. 3:11-0057 (D.S.C. filed Jan. 7, 2011). On March 7, 2011, the District Court dismissed the

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January 7, 2011 Complaint in the interest of judicial economy and efficiency, because it was
duplicative to the August 11, 2010 Complaint. See Terry v. United States, No. 3:1 1-0057, slip

op. at 1-2 (D.S.C. Mar. 7, 2011).

On March 21, 2011, the United States Court of Appeals for the Fourth Circuit affirmed
the District Court’s dismissal of Plaintiff's August 1], 2010 Complaint. See Terry v. United
States Postal Service, 418 Fed. Appx. 266 (4th Cir. 201 1).

I. PROCEDURAL HISTORY.

On February 14, 2011, Plaintiff filed a Complaint (“Compl.”) in the United States Court
of Federal Claims against the USPS. The February 14, 2011 Complaint alleges that an employee
of the USPS intentionally and in bad faith breached a contract with Plaintiff by failing to
properly label the PO Box, causing Plaintiff to miss important mail regarding employment and
court filings in other civil cases. Compl. § 1. On February 17, 2011, the court granted Plaintiff's
Motion For Leave To Proceed In Forma Pauperis,

On April 15, 2011, the Government filed a Motion To Dismiss (“Gov't Mot.”), pursuant
to Rules 12(b)(1), (6) of the Rules of the United States Court of Federal Claims (“RCFC” ,
together with Exhibits (“Gov’t Mot. Ex. A1-A41”). On April 20, 2011, by leave of the court,
Plaintiff filed a Motion For Default Judgment, Or In The Alternative, Motion For Summary
Judgment, together with Exhibits (“Pl. Ex. A-D”). On that same date, the court denied the
Motion For Default Judgment and directed Plaintiff to indicate in his response to the April 15,
2011 Motion To Dismiss whether he would like to proceed with his Motion For Summary
Judgment. On April 22, 2011, Plaintiff filed a Response (“PI. Resp.”), and, by leave of the court,
a Motion To Amend The Complaint. On that same date, the court issued an Order staying
consideration of Plaintiff's April 20, 2011 Motion For Summary Judgment until ruling on the
Government’s April 15, 2011 Motion To Dismiss.

On May 6, 2011, the Government filed a Response to Plaintiff's April 22, 2011 Motion
To Amend Complaint. On May 9, 2011, the Government filed a Reply (“Gov’t Reply”), On

III. DISCUSSION.
A, Jurisdiction.
The jurisdiction of the United States Court of Federal Claims is established by the Tucker

Act. See 28 U.S.C. § 1491. The Tucker Act authorizes the court “to render judgment upon any
claim against the United States founded either upon the Constitution, or any Act of Congress or

 
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any regulation of an executive department, or upon any express or implied contract with the
United States, or for liquidated or unliquidated damages in cases not sounding in tort.” 28
U.S.C. § 1491(a)(1). The Tucker Act, however, is “a jurisdictional statute; it does not create any
substantive right enforceable against the United States for money damages. . oe [T]he Act
merely confers jurisdiction upon it whenever the substantive right exists.” United
States v. Testan, 424 U.S. 392, 398 (1976), Therefore, a plaintiff must identify and plead an
independent contractual relationship, constitutional provision, federal statute, or executive
agency regulation that provides a substantive right to money damages. See Fisher v. United
States, 402 F.3d 1167, 1172 (Fed. Cir. 2005) (en banc) (“The Tucker Act itself does not create a
substantive cause of action; in order to come within the jurisdictional reach and the waiver of the
Tucker Act, a plaintiff must identify a separate source of substantive law that creates the right to
money damages.”). The burden of establishing jurisdiction falls on the plaintiff. See F W/PBS,
Inc. v, Dallas, 493 U.S. 215, 231 (1990) (holding that the burden is on the plaintiff to allege facts
sufficient to establish Jurisdiction); see also RCFC 12(b)(1).

The February 14, 2011 Complaint alleges that the court has jurisdiction to adjudicate the
claims alleged therein, because a contract was formed with the United States when Plaintiff
prepaid for use of the PO Box, Compl. § 1. These jurisdictional allegations are discussed below.

B. Standing,

The United States Supreme Court has held that “the question of standing is whether the
litigant is entitled to have the court decide the merits of the dispute or of particular issues.”
Warth v. Seldin, 422 U.S. 490, 498 (1975). Standing must be determined “as of the
commencement of suit.” Rothe Dey. Corp. v. Dep't of Def, 413 F.3d 1327, 1334 (Fed. Cir,
2005). The party invoking federal Jurisdiction bears the burden of establishing standing. See
Lujan v. Defenders of Wildlife, 504 U.S. 535, 560-61 (1992), Specifically, “a plaintiff must
show [that] it has suffered an “injury in fact’ that is... concrete and particularized and .. . actual
or imminent, not conjectural or hypothetical; . . . the injury is fairly traceable to the challenged
action of the defendant; and . . . it is likely, as opposed to merely speculative, that the injury will
be redressed by a favorable decision,” Friends of the Earth, Inc. v. Laidlaw Envil. Serv., Inc.,
528 U.S. 167, 180-81 (2000) (internal citations omitted).

The February 14, 2011 Complaint alleges that Plaintiff suffered emotional distress,
sleeping problems, emotional control issues, and “diminished . . . everyday enjoyment of life,” as
a result of the Government’s breach of contract. Compl. 4 1. Because the February 14, 2011
Complaint alleges an actual injury that is traceable to the Government’s actions and would be
redressed by a favorable decision, the court has determined that Plaintiff has standing.

Cc, Pro Se Litigants.

The pleadings of a pro se Plaintiff are held to a less stringent standard than those of
litigants represented by counsel. See Hughes v. Rowe, 449 U.S. 5, 9 (1980) (holding that pro se
complaints, “however inartfully pleaded,” are held to “less stringent standards than formal
pleadings drafted by lawyers” (citations omitted) (internal quotation marks omitted)). Indeed, it
has been the tradition of this court to examine the record “to see if [a pro se] Plaintiff has a cause

 
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of action somewhere displayed.” Ruderer v. United States, 412 F.2d 1285, 1292 (Ct. Cl. 1969).
Nevertheless, while the court may excuse ambiguities in a pro se Plaintiff's complaint, the court
“does not excuse [a complaint’s] failures.” Henke v. United States, 60 F.3d 795, 799 (Fed. Cir.

1995).

D. Standard For Decision On Motion To Dismiss Pursuant To RCFC 12(b)(1).

A challenge to the United States Court of Federal Claims’ “general power to adjudicate in
specific areas of substantive law... is properly raised by a [Rule] 12(b)(1) motion.”
Palmer v. United States, 168 F.3d 1310, 1313 (Fed. Cir. 1999); see also RCFC 12(b)(1) (“Every
defense, in law or fact, to a claim for relief in any pleading, whether a claim, counterclaim, or
third-party claim, shall be asserted in the responsive pleading thereto if one is required, except
that the following defenses may at the option of the pleader be made by motion: (1) lack of
Jurisdiction over the subject matter[.]”), When considering whether to dismiss an action for lack
of subject matter jurisdiction, the court is “obligated to assume all factual allegations of the
complaint to be true and to draw all reasonable inferences in plaintiff's favor.” Henke, 60 F.3d at
797. Nonetheless, the plaintiff bears the burden of establishing jurisdiction by a preponderance
of the evidence. See Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir.
1988) (“[O]nce the [trial] court’s subject matter jurisdiction [is] put in question . . . [the plaintiff]
bears the burden of establishing subject matter Jurisdiction by a preponderance of the
evidence.”’),

E. Standard for Decision On Motion To Dismiss Pursuant To RCFC 12(b)(6).

Although a complaint “attacked by a Rule 12(b)(6) motion to dismiss does not need
detailed factual allegations, a plaintiff's obligation to provide the grounds of entitlement to relief
requires more than labels and conclusions, and a formulaic recitation of the elements of a cause
of action will not do.” Bell Ati Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citations omitted)
(internal quotation marks omitted). In order to survive a motion to dismiss, however, the court
“[does]} not require heightened fact pleading of specifics, but only enough facts to state a claim to
relief that is plausible on its face.” id. at 570; see also Ashcroft v. Igbal, 129 S.Ct. 1937,
1950 (2009) (“[OInly a complaint that states a plausible claim for relief survives a motion to
dismiss.”), When reviewing a motion to dismiss for failure to state a claim upon which relief
may be granted, the court “must accept as true all the factual allegations in the complaint,
and... indulge all reasonable inferences in favor of the non-movant.” Sommers Oil
Co. v. United States, 241 F.3d 1375, 1378 (Fed. Cir. 2001) (citations omitted); but see Igbal, 129
S. Ct. at 1949 (“{TJhe tenet that a court must accept as true all of the allegations contained in a
complaint is inapplicable to legal conclusions.”),

F. The Government’s April 15, 2011 Motion To Dismiss.

1. The Government’s Motion To Dismiss For Lack Of Subject Matter
Jurisdiction Pursuant To RCFC 12(b)(1) Is Granted.

a. The Government’s Argument.

 
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The Government argues that the court does not have jurisdiction to adjudicate the claims
alleged in the February 14, 2011 Complaint because Plaintiff’s claims sound in tort. Gov’t Mot.
at 6. The Tucker Act excludes tort claims against the Government from the United States Court
of Federal Claims’ jurisdiction. See 28 U.S.C. § 1491(a)(1) (“The United States Court of Federal
Claims shall have jurisdiction to render judgment upon any claim against the United States . . . in
cases not sounding in tort.”). Claims for the mishandling of mail sound in tort, and not breach of
contract. See Blazavich v. United States, 29 Fed. Cl. 371, 374 (1993) (holding that the United
States Court of Federal Claims lacked subject matter Jurisdiction to adjudicate a claim for lost
textbooks because claims regarding lost postal matter sound in tort). In Naskar v. United States,
82 Fed. Cl. 319 (2008), the United States Court of Federal Claims dismissed plaintiffs claim for
mental harassment due to damage to a package he attempted to ship through the USPS, finding
that, “[bJecause plaintiff's claim is for damages due to negligence, it sounds in tort and the
[United States] Court of Federal Claims does not have jurisdiction over it.” Jd. at 321 (citation
omitted). In the present case, had Plaintiff received the mail he was expecting he would not have
filed a claim against the United States. Gov’t Mot. at 6-7. Therefore, because the February 14,
2011 Complaint alleges that the USPS mishandled mail by mislabeling Plaintiff's PO Box, the
court lacks jurisdiction to adjudicate the claims alleged therein, Jd.

In addition, the Government argues that sovereign immunity has not been waived with
respect to the claims alleged in the February 14, 2011 Complaint, Gov’t Mot. at 6-8. In Lucas v.
United States, 228 Ct. Cl. 860 ( 1981), the United States Court of Claims dismissed the plaintiff's
complaint for the delay in delivery of mail for lack of subject matter jurisdiction because
Congress explicitly omitted the mishandling of mail from the Federal Tort Claims Act. See 28
U.S.C. § 2680(b) (“The provisions of [the Tort Claims Procedure] chapter and section 1346(b) of
this title shall not apply to . . . any claim arising out of the loss, miscarriage, or negligent
transmission of letters or postal matter.”). Similarly, in Persick v. United States Postal Service,
No. A 00-5062, 2001 WL 185543 (E.D. Pa. Feb, 23, 2001), the United States District Court for
the Eastern District of Pennsylvania dismissed a tort claim artfully replead as a breach of
contract claim, because 28 U.S.C. § 2680(b) unambiguously bars suits arising from the
mishandling of mail. Jd, at *1 (failure to deliver stock options on time was a tort claim and not a
breach of contract because the delay in delivery was due to negligence).

b. The Plaintiff's Response.

Plaintiff responds that because the February 14, 2011 Complaint alleges a breach of
contract, and not a claim for the mishandling of mail, the court has jurisdiction to adjudicate the
claims alleged therein. PI. Resp. J 1. Plaintiff argues that the February 14, 2011 Complaint “is
not the artful repleading of a tort claim as a contract claim since [negligence and [b]reach of
[cJontract are two completely different causes of action.” Id The February 14, 2011 Complaint

only uses the term “negligence” once, in the context of a postal employee speaking to Plaintiff.
Id

In addition, there was a contract between Plaintiff and the USPS because all of the basic
elements of a contract are present: an offer for a service provided by the USPS, an acceptance by
Plaintiff, and consideration by both parties, /d Plaintiff argues that he fulfilled his contractual
duties by paying for the PO Box. Jd. The Government, however, breached the contract by not

 
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labeling the PO Box until the fifth month of a six month rental period. Ia. ; see also Pl, Ex. D
(audio recording of employees of the Columbia P.O. admitting to not labeling the PO Box ina
timely fashion). Therefore, this court has jurisdiction to adjudicate the breach of contract claim
alleged in the February 14, 2011 Complaint. Jd. at 1-2.

c. The Government’s Reply.

The Government replies that Plaintiff has failed to establish this court’s jurisdiction
because the February 14, 2011 Complaint alleges tort claims, including claims for emotional
distress and pain and suffering. See Ancman v. United States, 77 Fed. Cl. 368, 373 (2007)
(dismissing plaintiffs’ claims for emotional distress and pain and suffering resulting from a
reduction in early retirement pay because the United States Court of Federal Claims lacked
jurisdiction to adjudicate tort claims); see also Pratt y. United States, 50 Fed. Cl. 469, 482
(2001) (holding that the United States Court of Federal Claims lacks jurisdiction to award
damages for the emotional consequences of a breach of contract because such consequences are
speculative as a matter of law), The Government also argues that Plaintiff has not demonstrated
this court has jurisdiction, nor proffered any evidence to warrant an award of $500,000 for the
mislabeling of the PO Box. Gov't Reply at 2-3.

d. The Court’s Resolution.

Pursuant to the Tucker Act, the United States Court of Federal Claims has “jurisdiction to
render judgment upon any claim against the United States founded . . . upon any express or
implied contract with the United States.” 28 U.S.C. § 1491(a). Plaintiff argues that an express

(1) an explicit agreement with the United States exists; (2) the agreement was
executed by someone who possessed actual authority to bind the government in
contract; and (3) the agreement entitles the [plaintiff] to monetary relief.

Cottrell v. United States, 42 Fed. Cl. 144, 150 (1998). If Plaintiff cannot establish each of these
elements, the court does not have jurisdiction. Jd.

In this case, to the extent that there is an explicit agreement between Plaintiff and the
USPS, the agreement is limited to the use of the PO Box, and does not hold the USPS liable for
any damages associated with the use of the PO Box or mishandling of mail. In addition, even if
there was an explicit agreement between Plaintiff and the USPS, the agreement was not executed
by an authorized agent of the United States. Finally, the PO Box agreement on the USPS

 
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In addition, the United States Court of Federal Claims does not have subject matter
jurisdiction to adjudicate claims relating to the mishandling of mail because those claims sound
in tort. See Naskar, 82 Fed. Cl. at 321 (“[Plaintiff] alleges that the willful or negligent
misconduct of the USPS caused a torn, ripped, and badly damaged article to be returned to him,
causing him mental harassment . . . this is a claim sounding in tort.” (internal quotation marks
omitted)); see also Blazavich, 29 Fed. Cl. at 374 (“Plaintiffs case appears to arise out of the
negligent or tortious handling of the mail by the USPS, and we so find, and, as such, should be
dismissed.” (internal quotation marks omitted)). The claim alleged in the February 14, 2011
Complaint concerns the potential mishandling of mail through the mislabeling of the PO Box.
Compl. 4 1. Therefore, the court lacks subject matter jurisdiction to adjudicate the claims alleged
in the February 14, 2011 Complaint.

Finally, the court lacks jurisdiction to adjudicate the emotional distress claims alleged in
the February 14, 2011 Complaint because claims for emotional distress sound in tort. It is well
settled that claims for emotional distress are tort claims, and beyond the jurisdiction of this court.
See Ancman, 77 Fed. Cl. at 373 (“[c]laims for . .. mental anguish sound in tort”).

For the above stated reasons, the court has determined that it does not have jurisdiction to
adjudicate the claims alleged in the February 14, 2011 Complaint,

2, The February 14, 2011 Complaint Fails To State A Claim Upon
Which Relief Can Be Granted.

a. The Government’s Argument.

In the alternative, the Government argues that the February 14, 2011] Complaint should
be dismissed, pursuant to RCFC 12(b)(6), because Plaintiff has not alleged a violation of postal
regulations, a prerequisite for a claim involving postal matters. See Twentier v. United States,
109 F. Supp. 406, 408-09 (Ct. Cl. 1953) (plaintiff was barred from recovering the cost of
replacing lost pins and rings because Postal Service regulations, which are published in the
USPS Domestic Mail Manual,” did not assign liability for lost mail items sent through fourth
class mail). In Djordjevic y. United States Postal Service, 957 F. Supp. 31 (E.D.N.Y. 1997), the
United States District Court for the Eastern District of New York held that the plaintiff did not
have a claim to recover lost cash that he mailed to Russia because Postal Service regulations did
DMM does not allow for damages for emotional distress, mental anguish, or any related malady
stemming from the mishandling of mail or mislabeling of PO Boxes. See United States Postal
Service, Domestic Mail Manual, § 609.4.3(g) (“Indemnity is not paid for insured mail,
Registered Mail, COD, or Express Mail [for] . . . [cJonsequential loss claimed[,} rather than the
actual value of the article.”). Because the DMM does not allow for recovery of consequential
damages such as emotional distress, the February 14, 201] Complaint fails to state a claim upon
which relief can be granted.

 

* The USPS Domestic Mail Manual (“DMM”) is incorporated by reference at 39 C.F.R.
§§ 111.1, 211.2(a)(2), and is available at http://pe.usps.com/text/dmm300/dmm300_ landing htm.

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In addition, the Government argues that Plaintiff has failed to state a claim “because
domestic mail services are governed by statutory authority set forth in the Postal Service
regulations.” Rogers v. United States Postal Service, No. 05-00158, 2005 WL 3369982 at *3
(W.D. Va. Dec. 12, 2005). Thus, even if the USPS contracted to timely label Plaintiff's PO Box,
there is no statutory authority assigning liability to the Government for failing to do so. Gov’t

Mot. at 9.

Finally, the Government argues that Plaintiff's claim for damages is too speculative for
the court to provide relief. Gov’t Mot. at 10. The United States Court of Appeals for the Federal
Circuit has held that lost profits resulting from a breach of contract are not recoverable if there is
not sufficient evidence showing a reasonable basis for the amount of damages claimed. See First
Fed. Lincoln Bank v. United States, 518 F.3d 1308, 1319 (Fed. Cir. 2008) (“A claim for an
attenuated loss resulting from a breach . . . must not be speculative and must be supported by
evidence providing a reasonable basis for the amount of damages,”); see also Ramsey v. United
States, 121 Ct. Cl. 426, 433 (1951) (interest accrued from a loan plaintiffs took to avoid
bankruptcy, as a result of a delayed payment by the Government, was not recoverable because it
was not reasonably foreseeable that the plaintiffs would go bankrupt if the Government did not
make the payments on time). The Government argues that Plaintiff's claims must also be
dismissed because Plaintiff has not proffered any evidence that he lost any money as a result of
the mislabeling of his PO Box. Gov’t Mot. at 11.

b. The Plaintiff’s Response.

Plaintiff responds that damages for emotional distress due to breach of contract are
appropriate in this case. PI. Resp. at 2. In Westervelt v. McCullough, 228 P. 734 (Cal. Ct. App.
1924), the plaintiffs, an elderly couple, defaulted on their mortgage, and the house was sold at

forcing the elderly couple onto the streets was within the contemplation of the parties at the time
of the contract. Jd at 738. Plaintiff argues that knowing the post office employee failed to
properly label the PO Box has left him emotionally distressed. Pl. Resp. at 2. Plaintiff argues
that, although he did not suffer any physical or economic injury as a result of the aileged breach,
he should be entitled to damages because the mislabeling of the PO Box caused him emotional
distress akin to the emotional distress the plaintiffs suffered in Westervelt. P|. Resp. at 2.

Cc. The Government’s Reply.
The Government replies that the February 14, 201] Complaint should be dismissed for

failure to state a claim upon which relief can be granted because Plaintiff has not alleged any

provisions set forth therein, See United States Postal Service, Domestic Mail Manual § 508.4.2.]

 

 
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(2011). Even if the Columbia P.O. manager made a contract with Plaintiff that would award
money damages for emotional distress in the event of a breach, such a contract would be
unenforceable because it would contradict the provisions set forth in the DMM. Id In
Blazavich, the court dismissed a claim for a breach of an implied contract When the USPS lost
the plaintiff's college textbooks because the plaintiff did not allege a violation of the postal
regulations and the Government did not consent to liability for any such claims. See Blazavich,
29 Fed, Cl. at 374-75. In this case, the Government contends that Plaintiff has not alleged any
violation of postal regulations, nor has the Government consented to be liable for breach of
contract for failing to timely label the PO Box. Gov't Reply at 3.

d. The Court’s Resolution.

Assuming, arguendo, that the court had jurisdiction to adjudicate the claims alleged in
this action, the February 14, 2011 Complaint has failed to state a claim upon which relief may be
granted, pursuant to RCFC 12(b}(6).

For a plaintiff to recover damages resulting from mishandling of postal matter, postal
regulations must assign liability to the Government, See Twentier, 109 F, Supp. at 409. In
Twentier, the United States Court of Claims held that because items shipped through the Amy
Postal System were shipped uncertified, unregistered, and without insurance, the Government
was not liable for any damage because postal regulations did not explicitly assign liability to the
Government for lost or damaged items sent in this manner. dd. In this case, the order page on
the USPS website does not explicitly assign liability to the Government for mishandling of mail
or the mislabeling of PO Boxes. PI. Ex. C. In addition, the PO Box rental agreement on the
USPS website does not state any acceptance of liability for damages based on breach of contract,
emotional distress, or pain and suffering. id The February 14, 2011 Complaint fails to allege
any violation of postal regulations. Therefore, Plaintiff cannot recover damages for emotional
distress,

In addition, as a matter of law, the damages claimed are speculative. Plaintiff alleges
emotional distress as a result of the USPS mislabeling the PO Box. Compl. 7 1. In a breach of
contract action, however, “[rJecovery for emotional [distress] will be excluded unless the breach
also caused bodily harm or the contract or the breach is of such a kind that serious emotional
disturbance was a particularly likely result,” RESTATEMENT (SECOND) OF CONTRACTS § 353
(1981); see also Bohac v. Dep't of Agric., 239 F.3d 1334, 1340 (Fed. Cir. 2001) (“Under the

To be sure there are exceptions. ... In these cases, however, breach of the contract is
particularly likely to cause serious emotional disturbance.” (quotation marks omitted) (citations
omitted)); Pratt, 50 Fed. Cl, at 482 (“award damages for emotional consequences of a breach of
contract . . . are speculative as a matter of law”). In this case, the February 14, 201] Complaint
does not provide a plausible factual basis to Suggest that, at the time of contract formation

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Plaintiff actually lost any potential job opportunities as a result of the mislabeling of the PO Box.
Therefore, the court has determined that Plaintiff's damages claims are speculative,

Accordingly, the court has determined that the February 14, 2011 Complaint has failed to
State a claim upon which relief can be granted.

IV. CONCLUSION.

For the reasons stated above, the Government’s April 15, 2011 Motion To Dismiss,
pursuant to RCFC i12(b)(1), (6) is granted.

The Clerk of the United States Court of Federal Claims is directed to dismiss the
February 14, 2011 Complaint.

IT IS SO ORDERED.

SAN G. BRADEN
Judge

II

 
